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                   Case 1:23-cv-12993-ADB                 Document 1-2           Filed 11/03/23          Page 1 of 2




                                     On
                                More than just data …
                                we offer nationwide, longitudinal research and cost-saving
                                services while protecting student privacy.
                                Each year over 17 million students attend collegiate institutions in the United States. Only one organization
                                — the National Student Clearinghouse — is the acknowledged national leader in accounting for these
                                students and verifying their enrollments and educational achievements.



Our Voluntary Data Services Enable Cost-Saving Institutional Services
(Over $750 million in annual savings)
 n Enrollment Reporting and Verification: The Clearinghouse collects current enrollment data and executes deferment reporting
   for the U.S. Department of Education and other education finance organizations. We also verify enrollment for entities that provide
   services or discounts to students.
 n Degree Verification: The Clearinghouse verifies degrees and certificates for our partner institutions in order to prevent resume fraud.
 n Myhub: Provides learners with a centralized and secure digital locker for all their learning achievements, regardless of institutional,
   state, or industry boundaries.
 n Transcript and Data Exchange Services: Our institutional partners efficiently deliver transcripts and electronic education data
   through our services and provide order tracking capabilities for students.
 n Statewide Service Agreements: Adoption of Clearinghouse back-office services allows individual states to reallocate employees
   system wide (as many as 100 or more, in some cases) to other important student-focused tasks.

Full Inter/Intrastate Educational Longitudinal Research via StudentTracker®
 n Postsecondary: Institutions accurately analyze the transfer, persistence, and completion trends of students across
   the spectrum of institutional types regardless of state boundaries: public, private, for-profit, international, career,
   and technical.
 n Secondary: High schools and districts accurately analyze the postsecondary success of their high school graduates and make
   programmatic changes based upon what they learn.
 n States: States utilize Clearinghouse data to promote best practices and facilitate innovation across their secondary and
   postsecondary institutions.
   ❱ Several states utilize the Clearinghouse to facilitate P-20 database development, including linkages to workforce development data,
      thereby enabling research of progress and success factors.
   ❱ More than 40 states work with the Clearinghouse to track their high school graduates’ access, persistence, and completion rates in
      postsecondary education.

Research Center Publishes Nationwide, Regional, State, and Student-Based Analytics
The National Student Clearinghouse Research Center publishes a series of enrollment, persistence and attainment reports highlighting the
latest trends in education by leveraging our unique ability to track students longitudinally through their academic journey. These can be
found on our Research Center site, http://nscresearchcenter.org.




                                           The Clearinghouse’s Unique Data Resources
                                           ❱ 97%, or 17.1 million, of currently enrolled postsecondary students
                                             (99% of all public and private institutions)
                                           ❱ Over 95% of all degrees awarded in the U.S.
                                           ❱ Enables higher education to save over $750 million each year

                                                                                                                                      (continued)
                                                                                          EDUCATION’S TRUSTED NONPROFIT PARTNER SINCE 1993
                               Case 1:23-cv-12993-ADB               Document 1-2          Filed 11/03/23      Page 2 of 2

       The Clearinghouse — The education community’s trusted partner
       For 30 years, the National Student Clearinghouse, a nonprofit education organization, has been the trusted and neutral partner to
       nearly 3,600 institutions in the United States. Our mission is to serve the education and workforce communities and all learners with
       access to trusted data, related services and insights. Our education partners TRUST the Clearinghouse and realize substantial
       savings and productivity gains through redeployment of administrative resources.




       The Clearinghouse Approach is:
       FLEXIBLE
         The Clearinghouse captures data from all types and sizes of institutions (e.g., public, private, 2-/4-year,
         nonprofit/for-profit) and is well positioned to capture information from the education and workforce data
         providers of the future.

       OPTIMIZED
         The Clearinghouse helps meet state and federal accountability and assessment needs. The reports available
         through our educational research service, StudentTracker®, can also be provided on a district- or individual
         school-level enabling them to make meaningful changes based upon their unique needs and characteristics.

       EFFICIENT
         While the Clearinghouse’s StudentTracker service yields information that can be used for a variety of institutional
         research purposes, participation in the Clearinghouse also delivers programs and services to institutions that
         allow them to control administrative costs and improve the services they provide to their students and alumni.

       TRUSTED & SECURE
         The Clearinghouse has served the higher education community as a nonadvocacy third-party agent for over
         20 years. As their longstanding partner, our participating institutions trust the Clearinghouse to maintain the
         integrity of their student records on our system and respect their role as data owner.

       SUSTAINABLE
         The Clearinghouse is a nonprofit that does not receive state or federal appropriations. Our data process
         is supported through the fees we collect from third-parties for services provided on behalf of our
         participating institutions.

       FERPA COMPLIANT
         Clearinghouse services are designed to facilitate compliance with the Family Educational Rights and Privacy Act,
         The Higher Education Act, and other applicable laws.




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